         Case 20-30967 Document 272 Filed in TXSB on 05/06/20 Page 1 of 6




                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                 §
In re:                                           §     Chapter 11
                                                 §
WATSON GRINDING &                                §     Case No. 20-30967 (MI)
MANUFACTURING CO.                                §
                                                 §
             Debtors.                            §

                        Official Committee of January 24 Claimants’
                             Notice of Deposition to KMHJ, Ltd.
To:      KMHJ, Ltd., c/o of Bruce J. Ruzinsky, Jackson Walker LLP at 1401 McKinney, Suite
         1900, Houston, TX 77010, bruzinsky@jw.com.

         PLEASE TAKE NOTICE, that pursuant to Rule 30(b)(6) of the Federal Rules of Civil

Procedure, applicable to this proceeding under Rule 7030 of the Federal Rules of Bankruptcy

Procedure, Official Committee of January 24 Claimants (the “Committee”), parties in interest in

the above-referenced case, will conduct the oral deposition of a designated representative of

KMHJ, Ltd. on May 19, 2020 at 10:00a.m., via Veritext Zoom Video, or at such other time and

location as agreed to by the parties in writing. The deposition shall be taken before a person duly

authorized by law to administer oaths, and may be recorded by stenographic, audiographic, and/or

videotaped means. The deposition shall continue from day to day thereafter or as otherwise agreed

by the parties, until completed. The scope of examination concerns the topics set forth in Exhibit

A, attached to this Notice.




                                                1
10559982v1
        Case 20-30967 Document 272 Filed in TXSB on 05/06/20 Page 2 of 6




Dated: May 6, 2020.                            Respectfully submitted,

                                               PORTER HEDGES LLP

                                               /s/ Joshua W. Wolfshohl
                                               Joshua W. Wolfshohl
                                               Aaron J. Power
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                                               PROPOSED COUNSEL FOR THE OFFICIAL
                                               COMMITTEE OF JANUARY 24 CLAIMANTS


                                       Certificate of Service

         This will certify that a true and correct copy of the foregoing document was served on the
(i) parties listed below by electronic mail and/or first class, postage prepaid, and (ii) via electronic
transmission to all registered ECF users appearing in the case on May 6, 2020.

 KMHJ, Ltd.
 c/o of Bruce J. Ruzinsky
 Jackson Walker LLP
 1401 McKinney, Suite 1900
 Houston, TX 77010
 Email: bruzinsky@jw.com



                                               /s/ Joshua W. Wolfshohl
                                               Joshua W. Wolfshohl




                                                   2
10559982v1
        Case 20-30967 Document 272 Filed in TXSB on 05/06/20 Page 3 of 6




                                          Exhibit A
                                         Definitions

      “John Watson” means the father of Kelly Watson, Hailey Watson, Melany Watson, and
       John Watson, II.

      “KMHJ” means KMHJ, Ltd. or the affiliates, subsidiaries, officers, managers, directors,
       shareholders, employees, or agents, or any person or entity authorized to act on behalf of
       KMHJ, Ltd.

      “KMHJ Management” means KMHJ Management Company, LLC, or the affiliates,
       subsidiaries, officers, managers, directors, shareholders, employees, or agents, or any
       person or entity authorized to act on behalf of KMHJ Management Company, LLC.

      “Watson Grinding” means Watson Grinding & Manufacturing Co., Inc. or the affiliates,
       subsidiaries, officers, managers, directors, shareholders, employees, or agents, or any
       person or entity authorized to act on behalf of Watson Grinding & Manufacturing Co., Inc.

      “United Fire” means United Fire Group Companies, or the affiliates, subsidiaries, officers,
       managers, directors, shareholders, employees, or agents, or any person or entity authorized
       to act on behalf of United Fire Group Companies.

      “Gessner Building 1” means Building 1 as identified in United Fire Insurance Policy No.
       85319121.

      “Steffani Building 3” means Building 3 as identified in United Fire Insurance Policy No.
       85319121.




                                                3
10559982v1
        Case 20-30967 Document 272 Filed in TXSB on 05/06/20 Page 4 of 6




                                 Scope of Oral Deposition

   1.        KMHJ entity, including but not limited to:

                a.     Formation
                b.     Structure
                c.     Partners – past and present
                d.     Management – past and present
                e.     Transfer of John Watson’s interest to KMHJ Management Company,
                       LLC
                f.     KMHJ Management Company, LLC
                       i. Structure, members – past and present, management – past and
                          present, operations, meetings and resolutions, sources of revenue
                g.     Operations
                h.     Assets
                i.     Annual and periodic meetings and resolutions
                j.     Sources of revenue

   2.        John Watson, including but not limited to:

                a.     Past and current formal relationship to KMHJ
                b.     Involvement in KMHJ currently

   3.        Transaction involving deed of 4606 Steffani Lane property to KMHJ, including
             but not limited to:

                a.     timing, deeds, purchase contracts, parties, consideration, recording

   4.        Transaction involving deed of 4525 Gessner property to KMHJ, including but
             not limited to:

                a.     timing, deeds, purchase contracts, parties, consideration, recording

   5.        Gessner Building 1, including but not limited to:

                a.     Construction - when, funding, how funded, mortgages, lenders, paid
                       off
                b.     Ownership
                c.     Insurance policies for the building




                                               4
10559982v1
         Case 20-30967 Document 272 Filed in TXSB on 05/06/20 Page 5 of 6




   6.        Steffani Building 3, including but not limited to:

                a.     Construction - when, funding, how funded, mortgages, lenders, paid
                       off
                b.     Ownership
                c.     Insurance policies for the building

   7.        March 1, 2001 lease between KMHJ and Watson Grinding, including but not
             limited to:

                a.     Negotiations
                b.     Premises – land and buildings
                c.     Insurance

   8.        January 1, 2007 lease between KMHJ and Watson Grinding, including but not
             limited to:

                a.     Negotiations
                b.     Premises
                c.     Insurance

   9.        January 1, 2014 lease between KMHJ and Watson Grinding, including but not
             limited to:

                a.     Negotiations
                b.     Premises – land and buildings
                c.     Insurance

   10.       January 1, 2019 lease between KMHJ and Watson Grinding, including but not
             limited to:

                a.     Negotiations
                b.     Premises – land and buildings
                c.     Insurance

   11.       Relationship and interactions between KMHJ and Watson Grinding over the
             2000 – 2020 period.

   12.       Relationship and interactions between KMHJ and United Fire.




                                                5
10559982v1
         Case 20-30967 Document 272 Filed in TXSB on 05/06/20 Page 6 of 6




   13.       KMHJ interactions with United Fire and Watson Grinding, including but not
             limited to:

                a.    Relating to any insurance policies concerning KMHJ
                b.    Relating to United Fire Policy No. 85319121 and any changes thereto,
                      including changes in loss payees or additional insureds.
                c.    Relating to the January 24, 2020 incident at Watson Grinding




                                             6
10559982v1
